OPINION — AG — ** APPROPRIATIONS — COUNTY — SUPPLEMENTAL APPROPRIATIONS ** THAT UNNEEDED, UNENCUMBERED BALANCE OF AN ITEM OF APPROPRIATION FOR CURRENT EXPENSES FOR A COUNTY OFFICE MAY NOT BE "TRANSFERRED" EITHER TO ANOTHER ITEM OF APPROPRIATION FOR CURRENT EXPENSES FOR THE SAME COUNTY OFFICE OR TO AN APPROPRIATION FOR CURRENT EXPENSES FOR ANOTHER COUNTY OFFICE, EXCEPT UNDER AUTHORITY OF, AND IN ACCORDANCE WITH, THE PROVISIONS OF 68 O.S. 292 [68-292] CITE:  68 O.S. 2482 [68-2482], 68 O.S. 2496 [68-2496] 68 O.S. 24101 [68-24101] (JAMES C. HARKIN)